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                                 EXHIBIT A: CONSENT JUDGMENT

                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                          x
  ASTRAZENECA PHARMACEUTICALS LP,
  A$TRAZENECA UK LIMITED, and
  ASTRAZENECA AB,

                  Plaintiffs,                              : Civ. Actin Nc. l:16-cv-1962-RIVIB-KMW
          v.                                               :                1:15-cv-6039-RMB-KMW

  INNOPHARMA LICENSING LLC,
                                                               Hon. Renee Marie Bumb, U.S.D.J.
                  Defendant.                               :   Hon. KarenM. Williams, U.S.M.J.
                                         —-—--




                                         CONSENT JUDGMENT

                  AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca Pharmaceuticals

  LP (hereinafter collectively “AstraZeneca”), and InnoPhanna Licensing LLC (hereinafter

  “limoPharma”), the parties fri the above-captioned actions, have agreed to terms and conditions

  representing a negotiated settlement of this action and have set forth those terms and conditions

  in a Settlement Agreement (the “Settlement Agreement”). Now the parties, by their respective

  undersigned attorneys, hereby stipulate and consent to entry of judgment and an injunction in

  this action as follows:
                            1L
                  IT IS this1f day of      (:( t.2017:
                  ORDERED, ADJUDGED AND DECREED as follows:

                  1.        This District Court has jurisdiction over the subject matter of the above

  action and has personal jurisdiction over the parties.

                  2.        As used in this Consent Judgment, (i) the term “limoPharma Product”

  shall mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

  Application No. 20864$ (and defined fri greater detail in the Settlement Agreement); and (ii) the
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  term “Affiliate” shall mean, with respect to a Party, any entity or person that, directly or

  indirectly through one or more intermediaries, controls, is controlled by, or is under common

  control with such Party. For purposes of this definition, “control” means (a) ownership, directly

  or through one or more intermediaries, of (i) more than fifty percent (50%) of the shares of stock

  entitled to vote for the election of directors, in the case of a corporation, or (ii) more than fifty

  percent (50%) of the equity interests in the case of any other type of legal entity or status as a

  general partner in any partnership, or (b) any other arrangement whereby an entity or person has

  the right to elect a majority of the board of directors or equivalent governing body of a

  corporation or other entity or the right to direct the management and policies of a corporation or

  other entity.

                  3.      Unless otherwise specifically authorized pursuant to the Settlement

  Agreement, InnoPhanna, including any of its Affiliates, successors and assigns, is enjoined from

  infringing United States Patent Numbers 6,774,122, 7,456,160, 8,329,680 and 8,466,139, on its

  own part or through any Affiliate, by making, having made, using, selling, offering to sell,

  importing or distributing of the InnoPharma Product.

                  4.      Compliance with this Consent Judgment may be enforced by AstraZeneca

  and its successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

                  5.      This Court retains jurisdiction to enforce or supervise performance under

  this Consent Judgment and the Settlement Agreement.

                  6.      All claims, counterclaims, affirmative defenses and demands in this action

  are hereby dismissed with prejudice and without costs, disbursements or attorneys’ fees to any

  party                                                                        (
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                                                                  Renee M. Bumb, U.S.D.J.


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  We hereby consent to the form and entry of this Order:



   s/John E. Flaherty                               s/Karen A. Confoy
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  LP




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